Case 1:19-cv-00830-TSE-TCB Document 1-2 Filed 06/20/19 Page 1 of 2 PagelD# 6

VIRGINIA:
IN THE CIRCUIT COURT FOR FAIRFAX COUNTY
CAMERON ROGERS
Plaintiff
Vv. 3 At Law No. 2019-08431

PHOENIX TRAMPOLINE PARK
MANAGEMENT, LLC, ET. AL

Defendants
NOTICE OF REMOVAL
TO THE CLERK:
Please note that Defendants, Phoenix Trampoline Park Management, LLC and Phoenix
Trampoline Fun Centers, LLC, have filed a Notice of Removal in the United States District
Court for the Eastern District of Virginia, and respectfully submits that no further proceedings

may be held in this Honorable Court unless and until the above-captioned matter is remanded.
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Respectfully submitted,

PHOENIX TRAMPOLINE PARK
MANAGEMENT, LLC and PHOENIX
TRAMPOLINE FUN CENTERS, LLC

By counsel,

DeCARO, DORAN, SICILIANO,
GALLAGHER,& DeBLASIS, LLP

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wv

/ Temp Tskow

V.S.B. No. 75883
3930 Walnut Street
Suite 250
Fairfax, Virginia 22030
Tel: (703) 255-6667

Fax: (703) 299-8548
jliskow(@decarodoran.com

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this this _20th day of June , 2019, a copy of
the foregoing Notice of Removal was mailed, first-class, post-prepaid, to:

Julie M. Porto, Esquire

Aneta Nikolic, Esquire
BLANKINGSHIP & KEITH, P.C.
4020 University Drive

Suite 300

Fairfax, VA 22030

 

 

James S. Liskow

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